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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                        )   CASE NO.: 5:18CR759
                                                  )
                Plaintiff,                        )   JUDGE CHRISTOPHER A. BOYKO
                                                  )
        v.                                        )
                                                  )
 KHALIL EWAIS,                                    )   NOTICE OF INTENT TO ACCESS
                                                  )   INFORMATION DERIVED FROM A
                Defendant.                        )   COMPUTER SEARCH AND OBTAINED
                                                  )   IN RESPONSE TO A SUBPOENA
                                                  )   SERVED UPON THE CITY OF
                                                  )   CLEVELAND

       Now comes the United States of America, by and through counsel, Justin E. Herdman,

United States Attorney, and Payum Doroodian, Assistant United States Attorney, and hereby

provides notice of its intent to access information stored on a City of Cleveland computer

provided in response to a subpoena served upon the City of Cleveland. Such information is not

privileged and is relevant to Defendant Khalil Ewais’s motion to appoint counsel, now pending

before the Court.

                                                      Respectfully submitted,

                                                      JUSTIN E. HERDMAN
                                                      United States Attorney

                                           By:        /s/ Payum Doroodian
                                                      Assistant United States Attorney
                                                      United States Court House
                                                      801 W Superior Ave, Suite 400
                                                      Cleveland, OH 44113
                                                      (216) 622-3739
                                                      (216) 522-2403 (facsimile)
                                                      Payum.Doroodian@usdoj.gov
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 6th day of February 2019 a copy of the foregoing document

was filed electronically. Notice of this filing will be sent to all parties by operation of the

Court's electronic filing system. All other parties will be served by regular U.S. Mail. Parties

may access this filing through the Court's system.


                                                       /s/ Payum Doroodian
                                                       Payum Doroodian
                                                       Assistant U.S. Attorney




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